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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISON

DR. HADDISH MELAKEBERHAN,
      Plaintiff,                                   Case No.
v.                                                 Hon.
THE BOARD OF TRUSTEES OF
MICHIGAN STATE UNIVERSITY,

      Defendant.
 David A. Nacht (P47034)
 Grace Cathryn Cretcher
 NACHTLAW, P.C.
 Attorneys for Plaintiff
 501 Avis Drive, Suite 3
 Ann Arbor, MI 48108
 (734) 663-7550
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 gcretcher@nachtlaw.com

                     COMPLAINT AND JURY DEMAND

      NOW COMES Plaintiff DR. HADDISH MELAKEBERHAN (“Plaintiff”),

by and through his attorneys, NACHTLAW, P.C., and hereby alleges as follows:


                               INTRODUCTION

      1.     Plaintiff’s claims arise out of the discriminatory treatment based on

race, national origin, and now, age, which he has faced for decades and continues to

face to the present day as a member of the Michigan State University (“MSU”)

faculty.
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      2.    For three decades, Plaintiff has been a well-respected Assistant

Professor at MSU, and he has become a world-renowned expert on the role of

nematodes – or roundworms – in agriculture.

      3.    Plaintiff has been invited to speak at nearly a dozen conferences on five

different continents, and his research on the subject has been cited well over a

hundred times.

      4.    Despite this impressive track record, Plaintiff has consistently faced

discriminatory treatment as the only Black and African individual among the 36

faculty members in the Department of Horticulture at MSU’s College of Agriculture

and Natural Resources (“CANR”). This discriminatory treatment has only

intensified as Plaintiff has become one of the oldest CANR faculty members as well.

      5.    Plaintiff brings this action against Defendant for violation of Title VII

of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., and violation of the Age

Discrimination in Employment Act (“ADEA”), 29 U.S.C. § 621 et seq.


                  PARTIES, JURISDICTION, AND VENUE

      6.    Plaintiff is a 72-year-old Black man of African origin, a resident of

Lansing, Michigan, and a tenured Assistant Professor in the Department of

Horticulture at MSU’s College of Agriculture and Natural Resources (“CANR”).

      7.    Defendant Board of Trustees of Michigan State University is the

publicly elected governing body of MSU, a publicly funded and state-operated

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university located in East Lansing, Michigan. MSU receives state and federal

funding for the provision of higher education.

      8.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C.

§ 1331 and 28 U.S.C. § 1343.

      9.     Plaintiff filed a Charge of Discrimination with the Equal Employment

Opportunity Commission (“EEOC”) on February 16, 2024, and was issued a Notice

of Right to Sue on November 7, 2024.

      10.    Venue is proper in this District as the events underlying this Complaint

occurred in East Lansing, Michigan, within the Western District of Michigan.


                           FACTUAL ALLEGATIONS

      11.    In or around 1990, Plaintiff began his work at MSU as a post-doctoral

researcher of nematodes and their effects on common Michigan crops including

cherries, corn, and soybeans.

      12.    In or around 1994, Plaintiff was made an Assistant Professor at MSU.

      13.    Since joining the faculty, Plaintiff has become a world-renowned expert

on the role of nematodes in agriculture, receiving invitations to speak at near a dozen

conferences on five different continents and producing research on the subject that

has been cited well over a hundred times.




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      14.    Unfortunately, despite his success, Plaintiff has consistently received

less favorable treatment in the terms and conditions of his employment than his non-

black, non-African, and younger colleagues.

      15.    This disparate treatment has manifested in three key forms, each of

which has had a material impact on Plaintiff’s ability to complete his research and

succeed professionally: commodities funding, promotion and compensation, and

field quarantining.

   a. Commodities Funding

      16.    Most devastatingly to his career, Plaintiff has been deprived of

commodities funding for his research, fostering a hostile work environment and

depriving him of the tools needed to move his research forward.

      17.    Plaintiff became a visiting Assistant Professor at MSU in 1992,

allowing him to write his own grant proposals. He developed a proposal based on

his Ph.D. work and in 1993 successfully obtained a 3-year USDA grant to fund it.

      18.    This led to his hiring as a tenure-stream Assistant Professor in the MSU

Entomology Department in February of 1994, at which point his task was to develop

a program based on his research with a connection to state commodities (such as

soybeans) in order to effectively access funding for his work.

      19.    In the field of agricultural research, commodities funding can account

for 30-50% of research funding, making it a veritable necessity.


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      20.    Faculty are assigned commodities responsibility by the department and

college in consultation with higher administration, and Plaintiff’s former colleague

Dr. George Bird was the nematologist to whom all Michigan commodities were

assigned at the time of Plaintiff’s hire.

      21.    This kind of affiliation with state commodity groups is crucial to the

work of researchers like Plaintiff because these groups form the foundation of the

funding pipeline for state, regional, and federal grants.

      22.    It is impossible to get funding for applied research like Plaintiff’s

without financial and logistical support from these commodity groups; for example,

the executive directors of these groups are responsible for submitting grant proposals

to the USDA, and only researchers with commodity responsibility are awarded such

funding.

      23.    When Plaintiff raised the funding and access issues he was facing in the

Entomology Department with then-CANR Dean Jeffrey Armstrong after receiving

tenure, Dean Armstrong’s only suggestions were to change his focus to molecular

rather than applied nematology (on which all Plaintiff’s prior work and scholarship

were based) and/or take advantage of MSU’s counseling services.

      24.    Finally, in 2006, Plaintiff’s reporting line was transferred from the

Department of Entomology to the Office of Senior Associate Dean Frank Fears,

where it remained until he moved into the Department of Horticulture in 2010.


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      25.    Around the same time, two white male faculty members who were also

dealing with issues within their departments – Dr. Edward Walker, at the time

Distinguished Professor of Entomology, now Distinguished Professor of

Microbiology with a partial appointment in the Department of Entomology, and Dr.

David Skole, Professor, Department of Forestry – were simply moved into other

departments so their professional trajectories remained uninterrupted.

      26.    As a result, Plaintiff was forced to do what he could to make progress

in his scholarship and career without access to commodities funding while awaiting

Dr. Bird’s retirement and the opportunity to work directly with commodity groups.

      27.    Unfortunately, however, to Plaintiff’s total shock and dismay after

decades of applied nematology work at MSU, upon Dr. Bird’s retirement, his young

former student Dr. Marisol Quintanilla was hired as an “applied nematologist” to

take over his responsibility for all Michigan crops.

      28.    In fact, Plaintiff remains the only researcher engaged in similar

agricultural work across the Departments of Horticulture, Entomology, and Plant,

Soil and Microbial Sciences at MSU not assigned responsibility for a single

Michigan commodity.

      29.    Despite his repeated protestations, established connections with

commodity funding sources have been deliberately kept from Plaintiff’s access, and

instead transferred to younger colleagues with lighter skin.


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      30.    As a result, since 2006, Plaintiff has had to contribute up to $15,000 of

his own money per year to keep his program running.

   b. Promotion and Compensation

      31.    Further, despite the acclaim Plaintiff’s research has consistently

received worldwide, MSU has failed to appropriately promote or compensate him

since his appointment to the faculty.

      32.    Plaintiff was denied promotion to full Professor in 2009 and 2015.

These denials occurred after the publication of his novel research models that apply

biological, ecological, and mathematical principles to relate changes in nematode

population dynamics in response to agricultural practices and identify the

sustainability of soil health outcomes.

      33.    In fact, leadership in Plaintiff’s department is well aware that the

novelty and importance of his work is not fully appreciated by the MSU system or

federal funding agencies, as is clearly demonstrated by the department’s 2024 offer

to pay for a multi-day trip for Plaintiff to further explain the details of the relevant

models to the USDA.

      34.    Because Plaintiff was stripped of his departmental affiliation between

2006 and 2010, he was unable to admit graduate students, teach nematology courses,

or receive evaluation letters during this time.




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      35.    Furthermore, as he had no departmental affiliation, the customary

department-wide seminar was not organized to consider his candidacy for full

Professor in 2009.

      36.    Instead, Associate Dean Fears organized his own special committee of

4 professors to evaluate Plaintiff’s promotion package.

      37.    Accordingly, the votes of these 4 professors chosen by Associate Dean

Fears were given the same weight as the evaluations of his peers’ departmental

colleagues and department chairs.

      38.    Additionally, Associate Dean Fears informed Plaintiff that his outside

letters of support from national and international experts were excellent, but his

candidacy was nevertheless unsuccessful.

      39.    Furthermore, any and all attempts by Plaintiff to seek full Professor

status that have or could occur are fatally hobbled by MSU’s ongoing discriminatory

refusal to assign him direct responsibility for work on Michigan commodities and

his resulting inability to secure either associated commodities funding or the local,

regional, and federal grants obtained via applications submitted by those very

commodities groups themselves.

      40.    This is clearly demonstrated by the fact that the main reasoning for

denying Plaintiff full Professorship in 2015 was the purportedly modest amount of

funding he had been able to secure.


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      41.    In fact, however, the number of students and postdoctoral researchers

Plaintiff was able to train, and the amount of funding he was able to generate

between 2000 and 2014, are markedly impressive when considered in the context of

his complete lack of the access to relevant commodities groups enjoyed by every

single one of his colleagues who are engaged in similar research.

      42.    For the past two decades, Plaintiff has repeatedly raised with

departmental and administration leadership the fact that Defendant has forced him

to contend with enormous obstacles not faced by his younger, white, and/or non-

African peers.

      43.    In fact, over the years, Plaintiff has repeatedly raised with MSU

leadership the near impossibility of obtaining adequate funding without commodity

support and proposed the equitable reorganization of MSU nematology’s approach

to working with state commodities, only to be virtually totally ignored.

      44.    While Plaintiff has been consistently shut out of access to funding

sources and denied promotion based on this very inability to access funding sources

for the past decade and a half, younger white colleagues, including Dr. Donatien-

Pascal Kamden and Dr. Larry Gut, were promoted to full Professor after as little as

two years as an Assistant Professor.




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       45.    Being in the tenure system for over 24 years without receiving a

 promotion is virtually unheard of for a faculty member with consistent research and

 graduate student output and no disciplinary or conduct issues.

       46.    In addition to a consistent failure to promote, as recently as September

 2019, Plaintiff was paid just 65% of the salary earned by his cohort.

       47.    When Plaintiff asked for a raise to a more equitable level, his salary

 was increased to 75% of that of the average individual within his cohort, effective

 October 2019.

       48.    When Plaintiff further pressed the issue in July 2019, he highlighted the

 gap between his increased salary and that of the average individual in his cohort.

       49.    Over five years later, his pay has not been further increased, and he is

 currently earning less than 75% of the salary received by his white peers.

       50.    Finally, Plaintiff filed a complaint with the MSU OIE in July of 2022.

       51.    Despite Plaintiff’s submission of copious evidence of discrimination in

 interview and documentary form, OIE closed the investigation of his complaint in

 November of 2023, declining to acknowledge the pervasive and ongoing

 discrimination he has faced at MSU or to provide any avenue for redress whatsoever.

       52.    Plaintiff’s struggles for both position and pay are not shared by the

 other professors of his department, all of whom are white and most of whom are

 younger than him.


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       53.    Following his complaint to OIE and filing of an EEOC Charge of

 Discrimination, Plaintiff received his first “does not meet expectations” evaluation

 in over 30 years at MSU, without valid cause or justification.

    c. Field Quarantining

       54.    In seeking tenure at MSU, Plaintiff focused on the soybean cyst

 nematode (“SCN”), which causes billions of dollars in crop loss annually.

       55.    Despite this, government quarantining of the organism was lifted in the

 mid-1960s.

       56.    In order to study the SCN effectively, Plaintiff sought land on campus

 on which to conduct his research, which came with quarantine restrictions requiring

 the washing of all parts of vehicles that touch soil in his field, despite Plaintiff’s

 repeatedly raising the fact that the SCN is not a quarantined organism with the

 relevant parties at MSU.

       57.    This unnecessary quarantine has been a high budgetary burden and

 inconvenience for Plaintiff’s program, requiring him to buy a truck and associated

 washing facility and pay for the work of specialized personnel.

       58.    He has even been forced to buy his own no-till planter and small plot

 harvester using personal funds, and this unnecessary quarantining requirement has

 resulted in Plaintiff’s land and work being seen by his peers as a contamination risk

 despite the fact that the SCN is found throughout the non-quarantined areas where


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 hundreds of MSU research vehicles regularly travel with no washing or other

 restrictions whatsoever.

       59.    As far as Plaintiff is aware, to date, none of his nematologist or non-

 nematologist peers in the nation deal with such restrictions on study of the SCN.

       60.    This has posed and continues to pose extreme barriers to Plaintiff’s

 research, as any equipment that enters his field must undergo an hours-long washing

 procedure before entering another field, which restricts his access to this vital

 equipment.

       61.    This is the case even though these nematodes are present all over the

 state, in fields where the relevant MSU equipment is used on a regular basis without

 any such disinfection required.

       62.    The arbitrary and capricious nature of this quarantine – illustrated

 clearly by the fact that the very same equipment Plaintiff is required to disinfect

 travels through other fields containing SCN without disinfection on a regular basis

 – demonstrates the discriminatory nature of this barrier to Plaintiff’s work. Such

 measures are worthless and nonsensical unless they apply to all MSU fields.

       63.    Plaintiff’s former non-black and non-African colleague, Dr. Bird, and

 younger, non-black and non-African colleague, Dr. Quintanilla, had or have similar

 levels of SCN in their fields, but Dr. Bird was never subject to quarantining, and Dr.




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 Quintanilla only became subject to these procedures after Plaintiff pursued a

 discrimination case with the MSU Office of Institutional Equity (“OIE”).

       64.    Dr. Bird introduced the SCN at two different field research locations on

 the MSU campus many years before Plaintiff’s work with the organism began, and

 one of these locations was transferred to Dr. Quintanilla when she was hired in

 approximately 2016.

       65.    While Plaintiff’s field has been fenced and under quarantine for over

 two decades, despite working with the exact same organism as Plaintiff, no such

 requirements were placed on Dr. Bird’s or Dr. Quintanilla’s fields until after Plaintiff

 repeatedly raised this issue with MSU’s higher administration.

       66.    Finally, in 2020, MSU announced a sanitation protocol that applied to

 both Plaintiff and Dr. Quintanilla, but the fields into which Dr. Bird introduced the

 SCN remained unfenced until 2023.

       67.    As a result, until 2023, Plaintiff’s fields were the only fields subject to

 quarantine procedures in the entirety of MSU.


                                  COUNT I
  Race Discrimination in Violation of Title VII of the Civil Rights Act of 1964
                           42 U.S.C. § 2000e et seq.

       68.    Plaintiff incorporates the preceding allegations as if fully restated

 herein.



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       69.    At all relevant times, Defendants employed greater than 15 employees

 and Plaintiff was an employee covered by and within the meaning of Title VII of the

 Civil Rights Act of 1964, 42 U.S.C. 2000e(b) and (f).

       70.    Title VII prohibits discrimination in employment on the basis of race.

       71.    Plaintiff was well qualified for his faculty position at MSU.

       72.    Defendants subjected Plaintiff to intentional discrimination based on

 his race by unnecessarily and inequitably quarantining his research fields, excluding

 him from commodities funding, and obstructing and limiting his promotion and

 compensation, while also treating white coworkers more favorably.

       73.    Bias against Black people was a motivating factor behind Defendant’s

 actions.

       74.    Defendants applied their policies and procedures in a manner that

 discriminated against Plaintiff on the basis of race, causing him serious and

 unjustified damage.

       75.    Based on the foregoing, Plaintiff was subjected to biased, prejudiced,

 and unfair treatment in violation of Title VII.

       76.    Defendants’ actions were taken in reckless disregard of Plaintiff’s

 federally protected civil rights, entitling him to punitive damages.

       77.    As a direct and proximate result of Defendants’ unlawful actions,

 Plaintiff has suffered irreparable harm, injury, and damages, including, but not


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 limited to, significant and material obstruction of his career and research; loss of

 income; loss of career opportunities and earning capacity; mental and emotional

 distress; humiliation and embarrassment; and loss of personal and professional

 reputation, and he will continue to so suffer in the future.


                                  COUNT II
   National Origin Discrimination in Violation of Title VII of the Civil Rights
                                 Act of 1964
                           42 U.S.C. § 2000e et seq.

       78.    Plaintiff incorporates the preceding allegations as if fully restated

 herein.

       79.    At all relevant times, Defendants employed greater than 15 employees

 and Plaintiff was an employee covered by and within the meaning of Title VII of the

 Civil Rights Act of 1964, 42 U.S.C. 2000e(b) and (f).

       80.    Title VII prohibits discrimination in employment on the basis of

 national origin.

       81.    Plaintiff was well qualified for his faculty position at MSU.

       82.    Defendants subjected Plaintiff to intentional discrimination based on

 his national origin by unnecessarily and inequitably quarantining his research fields,

 excluding him from commodities funding, and obstructing and limiting his

 promotion and compensation, while also treating American coworkers more

 favorably.


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       83.    Bias against African people was a motivating factor behind

 Defendant’s actions.

       84.    Defendants applied their policies and procedures in a manner that

 discriminated against Plaintiff on the basis of national origin, causing him serious

 and unjustified damage.

       85.    Based on the foregoing, Plaintiff was subjected to biased, prejudiced,

 and unfair treatment in violation of Title VII.

       86.    Defendants’ actions were taken in reckless disregard of Plaintiff’s

 federally protected civil rights, entitling him to punitive damages.

       87.    As a direct and proximate result of Defendants’ unlawful actions,

 Plaintiff has suffered irreparable harm, injury, and damages, including, but not

 limited to, significant and material obstruction of his career and research; loss of

 income; loss of career opportunities and earning capacity; mental and emotional

 distress; humiliation and embarrassment; and loss of personal and professional

 reputation, and he will continue to so suffer in the future.


                                   COUNT III
       Retaliation in Violation of Title VII of the Civil Rights Act of 1964
                             42 U.S.C § 2000e et seq.

       88.    Plaintiff incorporates the preceding allegations as if fully restated

 herein.



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       89.    At all relevant times, Defendant was an employer with greater than 15

 employees and Plaintiff was an employee covered by and within the meaning of

 Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e(b).

       90.    Plaintiff engaged in conduct protected by Title VII when he made a

 report of discrimination to MSU’s OIE and filed an EEOC Charge of Discrimination.

       91.    But for this protected conduct, Plaintiff would not have received a

 retaliatory negative performance review.

       92.    Defendant’s actions constitute unlawful retaliation against Plaintiff

 because in response to this protected activity, Defendant subjected him to an unfairly

 negative performance review in support of its ongoing discriminatory refusal to

 promote him to full professor.

       93.    Defendants’ actions were taken in reckless disregard of Plaintiff’s

 federally protected civil rights, entitling him to punitive damages.

       94.    As a direct and proximate result of Defendants’ unlawful actions,

 Plaintiff has suffered irreparable harm, injury, and damages, including, but not

 limited to, significant and material obstruction of his career and research; loss of

 income; loss of career opportunities and earning capacity; mental and emotional

 distress; humiliation and embarrassment; and loss of personal and professional

 reputation, and he will continue to so suffer in the future.

                                   COUNT IV
                   Age Discrimination in Violation of the ADEA
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                                29 U.S.C. § 621 et seq.

       95.    Plaintiff incorporates by reference the foregoing paragraphs as if fully

 set forth herein.

       96.    At all relevant times, Defendant was an employer with more than 20

 employees, and Plaintiff was an employee covered by and within the meaning of the

 ADEA.

       97.    Plaintiff is a member of a protected group because he is over the age of

 40.

       98.    Defendant was predisposed to discriminate on the basis of age and acted

 in accordance with that predisposition.

       99.    Defendant subjected Plaintiff to intentional discrimination based on his

 age by treating him less favorably than similarly situated younger coworkers in the

 terms and conditions of his employment.

       100. But for Plaintiff’s age, Defendant would not have subjected him to this

 disparate treatment.

       101. Defendant’s actions constitute unlawful discrimination against Plaintiff

 because of his age pursuant to 29 U.S.C. § 623(a).

       102. Defendants’ actions were taken in willful disregard of Plaintiff’s

 federally protected civil rights, entitling him to liquidated damages.




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       103. As a direct and proximate result of Defendants’ unlawful actions,

 Plaintiff has suffered irreparable harm, injury, and damages, including, but not

 limited to, significant and material obstruction of his career and research; loss of

 income; loss of career opportunities and earning capacity; mental and emotional

 distress; humiliation and embarrassment; and loss of personal and professional

 reputation, and he will continue to so suffer in the future.


                                      COUNT V
                        Retaliation in Violation of the ADEA
                               29 U.S.C. § 621 et seq.

       104. Plaintiff incorporates by reference the foregoing paragraphs as if fully

 set forth herein.

       105. At all relevant times, Defendant was an employer with more than 20

 employees, and Plaintiff was an employee covered by and within the meaning of the

 ADEA.

       106. Plaintiff engaged in conduct protected by the ADEA when he made a

 report of discrimination to MSU’s OIE and filed an EEOC Charge of Discrimination.

       107. But for this protected conduct, Plaintiff would not have received a

 retaliatory negative performance review.

       108. Defendant’s actions constitute unlawful retaliation against Plaintiff

 because in response to this protected activity, Defendant subjected him to an unfairly



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 negative performance review in support of its ongoing discriminatory refusal to

 promote him to full professor.

       109. Defendants’ actions were taken in willful disregard of Plaintiff’s

 federally protected civil rights, entitling him to liquidated damages.

       110. As a direct and proximate result of Defendants’ unlawful actions,

 Plaintiff has suffered irreparable harm, injury, and damages, including, but not

 limited to, significant and material obstruction of his career and research; loss of

 income; loss of career opportunities and earning capacity; mental and emotional

 distress; humiliation and embarrassment; and loss of personal and professional

 reputation, and he will continue to so suffer in the future.


                               RELIEF REQUESTED

       For all the foregoing reasons, Plaintiff demands judgment against Defendants

 as follows:

      a.    A declaration that the practices and actions of Defendants are unlawful
 employment practices in violation of Title VII and the ADA;

       b.      Compensatory damages in whatever amount he is found to be entitled;

        c.    Exemplary, punitive, and/or liquidated damages in whatever amount he
 is found to be entitled;

       d.      Interest, costs, reasonable attorney fees, and expert witness fees;

      e.    Equitable relief, including an injunction prohibiting any further acts of
 wrongdoing against him; and


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       f.    Whatever other relief this Court finds appropriate.


                                              Respectfully Submitted,

                                              NACHTLAW, P.C.

                                              /s/ David A. Nacht
                                              David A. Nacht (P47034)
                                              Grace Cathryn Cretcher
                                              Attorneys for Plaintiff
                                              501 Avis Dr, Ste. 3
                                              Ann Arbor, MI 48108
                                              (734) 663-7550
 Dated: February 3, 2025




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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISON

 DR. HADDISH MELAKEBERHAN,
       Plaintiff,                                         Case No.
 v.                                                       Hon.
 THE BOARD OF TRUSTEES OF
 MICHIGAN STATE UNIVERSITY,

       Defendant.
  David A. Nacht (P47034)
  Grace Cathryn Cretcher
  NACHTLAW, P.C.
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  gcretcher@nachtlaw.com

                                   JURY DEMAND

       NOW COMES Plaintiff DR. HADDISH MELAKEBERHAN, by and through

 his attorneys, NACHTLAW, P.C., and hereby demands a trial by jury in the above-

 captioned matter for all issues so triable.

                                                    Respectfully Submitted,

                                                    NACHTLAW, P.C.
                                                    /s/ David A. Nacht
                                                    David A. Nacht (P47034)
                                                    Grace Cathryn Cretcher
                                                    Attorneys for Plaintiff
 Dated: February 3, 2025

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